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     UNITED STATES DISTRICT COURT
     EASTERN DISTRICT OF NEW YORK
     CARLOS MARIN, KENNY LEBRON, and MARTINA
     HANISCH, on behalf of themselves and all others similarly
     situated,
                                                                         Case No. 12 Civ. 5274
                                    Plaintiffs,
                                                                           (ENV)(CLP)
                   -against-

     APPLE METRO, INC., et al.,

                                    Defendants.
     SHAUNTA DOVE, on behalf of herself and all others
     similarly situated,
                                    Plaintiffs,
                                                                         Case No. 13 Civ. 1417
                   -against-                                               (ENV)(CLP)

     APPLE METRO, INC., et al.,

                                    Defendants.




         DEFENDANTS’ MEMORANDUM OF LAW PURSUANT TO FED. R. CIV. P. 72(b)
                 IN SUPPORT OF THEIR OBJECTIONS TO MAGISTRATE
          JUDGE POLLAK’S OCTOBER 4, 2017 REPORT AND RECOMMENDATION

                                            Oral Argument Requested
                               on a date and at a time to be designated by the Court




     Date of Service:                                           LITTLER MENDELSON, P.C.
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        November 22, 2017
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           Defendants Apple-Metro, Inc. et al. 1 respectfully submit this Memorandum of Law in

  Support of their Objections to Magistrate Pollak’s October 4, 2017 Report and Recommendation.

  I.       PRELIMINARY STATEMENT

           According to Plaintiffs’ attorneys, the resolution of this motion in Plaintiffs’ favor will

  lead to liability in excess of $100 million dollars – a judgement that would result in the ruination

  of a company that provides the livelihood for tens of thousands of hardworking people. This is

  the result that Plaintiffs seek, simply because (according to the Magistrate’s Report and

  Recommendation), Defendants failed to include the correct overtime rate of pay in Wage Theft

  Notice forms issued to tipped employees. Literally hundreds of millions of dollars via the loss of

  the tip credit – all because the overtime rate listed in those forms was off by a few dollars. This

  cannot possibly be the correct result.

           The New York Department of Labor, in two separate opinion letters, has interpreted their

  own regulations as not calling for this result. Both letters state that a restaurant employer can

  take the tip credit – even when they fail to provide 100% compliant written notice of the tip

  credit – provided the employer can demonstrate that their employees “understood the manner in

  which the employer took the tip credit.” This interpretation deserves the Court’s deference.

           As explained below, there are threshold issues that preclude the Court from even

  considering Moving Plaintiffs’ partial motion for summary judgment and Rule 23 class

  certification motion. However, even if the Court reaches the substantive issues, the R&R’s

  analysis is entirely flawed. Partial motion for summary judgment is not warranted because (1)

  actual notice, not written notice, is required, (2) the NYLL § 198(1-b) affirmative defense

  applies, and (3) Defendants issued WTPA notices with the proper rates. Class certification


  1
      Except for individually named defendant Kirk Samlal.

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  should be denied because there are no adequate class representatives and commonality and

  predominance are lacking. All in all, in applying the appropriate de novo standard of review, this

  Court should reject the R&R in its entirety.

  II.    MAGISTRATE JUDGE POLLAK’S REPORT AND RECOMMENDATION

         On November 4, 2016, Plaintiffs moved for partial summary judgment on behalf of 60

  opt-in plaintiffs on New York Labor Law tip credit notice and Section 195(1) notice claims.

  Plaintiffs also moved for Federal Rule of Civil Procedure 23(b)(3) certification on behalf of two

  subclasses pertaining to these notice claims.

         With respect to Plaintiffs’ partial summary judgment motion, Defendants put forth a

  broad list of defenses, including, inter alia:

         •   None of the Marin or Dove complaints included tip credit notice or Section 195(1)
             notice claims,
         •   The moving plaintiffs only opted into the FLSA collective action and do not actually
             have NYLL claims,
         •   The motion was premature because discovery had not yet been taken on these new
             claims,
         •   The affirmative defense contained in NYLL § 198(1-b) prevented the grant of
             summary judgment,
         •   An opinion letter issued by the New York Department of Labor, which states that
             only actual (not written) notice of the tip credit is required, was entitled to deference
             (as recognized by Judge Forrest in the SDNY), and precludes moving plaintiffs’
             recovery,
         •   Material issues of disputed fact existed regarding whether the moving plaintiffs
             received notice of the tip credit, and

         •   Regardless, the majority of moving plaintiffs’ WTPA notices upon hire did include
             the minimum wage and overtime rates, and thus Defendants are not liable for tip
             credit notice or Section 195 violations.




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  The R&R, however, incorrectly found for Plaintiffs on each of these issues. 2

            With respect to Plaintiffs’ motion for Rule 23(b) (3) class certification, Defendants also

  put forth a number of defenses, including, inter alia:

            •    There was no common or representative evidence that could answer the question of
                whether an employee received proper notice of the tip credit (Subclass A) and/or
                received the requisite Section 195(1) notice (Subclass B) “in one stroke,” generating a
                common answer, and
            •   The Named Plaintiffs were inadequate class representatives.

      Again, the R&R incorrectly found for Plaintiffs on these points as well. 3

            As explained more fully below, Defendants specifically object to the Report and

  Recommendation with respect to the findings on the above referenced points.

  III.      APPLICABLE LEGAL STANDARD

            The October 4, 2017 Report and Recommendation (“R&R”) is a dispositive order. See

  Harper v. Gov’t Emps. Ins. Co., 2011 WL 4963770, at *1 (E.D.N.Y. Oct. 18, 2011).

  Accordingly, the Court should apply the de novo standard set forth in 28 U.S.C. § 636(b)(1)(C)

  and Fed. R. Civ. P. 72(b) in its review. See 28 U.S.C. § 636(b)(1)(C) (“A judge of the court shall

  make a de novo determination of those portions of the report or specified proposed findings or

  recommendations to which objection is made.”); Fed. R. Civ. P. 72(b) (“The district judge must

  determine de novo any part of the magistrate judge’s disposition that has been properly objected

  to.”). As per Rule 72(b)(3), the “district judge may accept, reject, or modify the recommended

  disposition; receive further evidence; or return the matter to the magistrate judge with



  2
   Defendants do not object to the portion of Judge Pollak’s R&R that denied summary judgment
  as against 24 moving plaintiffs. (R&R, at 47-50).
  3
    Defendants do not object to the portion of Judge Pollak’s R&R that found that (1) Plaintiffs
  original proposed subclasses were fail-safe classes, or (2) Named Plaintiff Marin was not a
  proper named plaintiff for the newly defined Subclass A.


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   instructions.”

   IV.    ARGUMENT -- THRESHOLD ISSUES

          A.        Plaintiffs’ Motions For Partial Summary Judgment and Rule 23 Class
                    Certification Should Be Denied In Full Because Plaintiffs Did Not Include
                    Tip Credit Notice or Section 195(1) Claims In Their Complaints

          As a threshold matter, Defendants object to the R&R’s holding that the Dove complaint

   sufficiently pleads claims for failure to provide proper notice of the tip credit and failure to issue

   sufficient wage notices pursuant to NYLL 195(1). Magistrate Judge Pollak’s holding rests on

   two findings: (1) the law of the case doctrine requires a finding that these two claims were

   properly pled, and, regardless, (2) the Dove complaint sufficiently placed Defendants on notice

   of these claims. (R&R at 12-25). Neither finding is correct.

                    1.    The R&R Misapplies the Law of the Case Doctrine

          Magistrate Pollak misapplies the law of the case doctrine outright. She claims that since

   “the proposed Thomas Complaint [a completely separate action] included claims for minimum

   wage and wage notice violations under the NYLL and the Court has already held that all claims

   in the proposed Thomas Complaint were included in the Marin and Dove actions, the law of the

   case is that those claims are part of the instant actions.” (R&R, at 21).

          In its decision on the motion to intervene, however, this Court did not even arguably hold

   that all claims in the proposed Thomas Complaint were included in this Action. It couldn’t have

   – because that is not an element of the motion to intervene standard. To qualify for intervention

   as a matter of right, the proposed intervenor must demonstrate that:

          (1) the application is timely; (2) the applicant claims an interest relating to the
          property or transaction which is the subject matter of the action; (3) the protection
          of the interest may as a practical matter be impaired by the disposition of the
          action; and (4) the interest is not adequately protected by an existing party.’”

   Del Col v. Rice, 2014 WL 1834983, at *4 (E.D.N.Y. May 7, 2014) (quoting St. John’s Univ. v.



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   Bolton, 450 F. App’x 81, 83 (2d Cir. 2011)). In other words, the standard itself does not

   contemplate a holding that the claims in the proposed intervenor’s complaint are the same as the

   claims in the existing case’s complaint.

          Moreover, in her motion to intervene, Thomas argued that her 20% Rule and Dual Jobs

   putative class claims – not any tip credit notice or Section 195 claims – were not adequately

   protected by Plaintiff Dove. (Marin, ECF No. 177, at 12). In analyzing whether Thomas met

   this element, the Court held she did not – but only because the Court was “not persuaded that the

   ‘20% Rule’ and ‘"dual jobs’ claims entitle plaintiffs to relief that is different from the relief

   already being sought in the Marin and Dove actions.” (Marin, ECF No. 242, at 19 (emphasis

   added)). To be clear, the Court did not hold that Thomas’s ‘20% Rule’ and ‘"dual jobs’ claims

   and Dove’s illegal tip sharing claims were the same – only that the ultimate relief sought for both

   claims were the same. The Court certainly did not hold that tip notice and Section 195(1) claims

   were already a part of this case, as Judge Pollak claims in the R&R. Simply put, the analysis

   resulting from Thomas’ motion for intervention is a far cry from providing support for the

   contention that the notice claims were always a part of this case.

          “It is important to note that law of the case rules ‘come into play only with respect to

   issues previously determined,’ and that ‘questions that have not been decided do not become law

   of the case merely because they could have been decided.’” Walsh v. McGee, 918 F. Supp. 107,

   111 (S.D.N.Y. 1996) (citations omitted). Here, the only issue was actually decided by the Court

   with respect to intervention was whether Thomas’ class interests were protected; the Court never

   held that the claims in the Thomas proposed complaint were identical to the claims at issue




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   here. 4 Accordingly, this portion of the R&R must be disregarded and there is no valid basis to

   use the law of the case doctrine to bring these tip credit notice and Section 195(1) claims into the

   case at this late date.

                   2.        The Dove Complaint Does Not Sufficiently Plead Notice of the Tip
                             Credit or Section 195(1) Claims

           The R&R is also incorrect in its determination that Plaintiffs properly plead notice of the

   tip credit and Section 195(1) claims. Judge Pollak rests this portion of her decision entirely on

   the same basic reasoning: Since Plaintiffs included certain other NYLL minimum wage claims

   and a separate and distinct Section 195 pay stub claim in the Dove complaint, Defendants should

   have been on notice that all possible grounds for failure to pay minimum wage and any Section

   195 claim could be included. (R&R, at 21-25). This stretches even the liberal notice standard

   way too far.

           As explained in Defendants’ brief (but which was flatly ignored), when a plaintiff tries to

   raise new grounds on summary judgment motion to support an already noticed claim – much less

   completely separate claims as Plaintiffs are trying to do here – courts regularly deny summary

   judgment. See, e.g., Chefs Diet Acquisition Corp. v. Lean Chefs, LLC, 2016 U.S. Dist. LEXIS

   133299, at *29-31 (S.D.N.Y. Sept. 28, 2016) (rejecting breach of contract claim raised at the

   summary judgment stage on grounds other than the grounds that had been pleaded in complaint);

   Enzo Biochem, Inc. v. Amersham PLC, 981 F. Supp. 2d 217, 222-23 (S.D.N.Y. 2013) (same);

   Caidor v. Potter, 2007 WL 2847229, at *8 (N.D.N.Y. Sep. 26, 2007) (refusing to allow the



   4
     To the extent Magistrate Pollak is applying Judge Caproni’s motion to dismiss decision in
   Thomas as law of the case here, this is also improper because the law of the case doctrine only
   applies to issues decided “during the course of a single continuing lawsuit. They do not apply
   between separate actions.” See 18B Wright & Miller, FED. PRAC. & PROC. § 4478 (2d ed. Apr.
   2017) (citing cases).


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   plaintiff to bring race-based disparate impact grounds on summary judgment, in addition to his

   already pled race-based disparate treatment grounds, even though both fell under the same statute

   and claim (discrimination) because the disparate impact grounds were not alleged in his

   complaint). Such is the case here.

          Judge Swain’s decision in Kone v. Joy Construction Corp., 2016 WL 866349 (S.D.N.Y.

   Mar. 3, 2016), is instructive. There, in opposition to a motion to dismiss, plaintiffs claimed that

   their complaint alleged both Section 195(1) and 195(3) claims because it included allegations –

   even more specific than what is included in the Dove complaint – that defendants:

          “Have willfully failed to supply Plaintiffs ... with notice ... containing Plaintiffs’...
          rates of pay and basis thereof ... hourly rates of pay and overtime rate or rates of
          pay ... the regular pay day designated by the employer ... the name of the
          employer ... the physical address of the employer’s main office [and] ... the
          telephone number of the employer.”

   Id. at *5 (citing the Kone complaint). The Court, however, held that the complaint did not

   include Section 195(1) claims. It held: “The Complaint provides no further support for their

   Section 195(1) claim and, furthermore, makes no allegation that this failure occurred at the time

   of hiring, which is required to establish a violation of NYLL § 195(1)(a).” (Id.). Such is the

   case here as well.

          As per Keiler vs. Harlequin Enterprises, cited by Judge Pollak in support of her holding,

   Plaintiffs were required to give Defendants notice of both “‘what the claim is and the grounds

   upon which it rests.’” (R&R, at 22 (emphasis added)). The Dove complaint, however, only

   provided notice that they were pursuing violations of NYLL 652 and 195 claims on the grounds

   that there was an unlawful tip share and that Plaintiffs did not receive proper paystubs – not on

   the grounds that they are pursuing now. Specifically, Plaintiffs have not alleged any facts (let

   alone facts sufficient) to support their NYLL minimum wage and notice claims on the grounds




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   that defendants failed to provide notice of the tip credit or WTPA notices upon hire. There is not

   a single factual allegation in the Dove complaint, for example, that: Plaintiffs did not receive

   wage notices upon hire; Plaintiffs’ wage theft prevention act notices lacked certain categories of

   information; or Defendants did not give employees notice that they were applying a tip credit. In

   fact, the phrases “wage notice,” “wage theft prevention act notice, “notice of the tip credit,” and

   “tip credit” – all key terms – are not found anywhere in the Dove complaint. 5

          Plaintiffs’ lawyers assert that the tip credit notice and Section 195(1) claims are worth

   more than $100 million dollars. 6 The first mention of these claims, however, was over four

   years into the lawsuit. It was not the subject of any specific discovery. To uphold Judge

   Pollak’s logic would be to set bad precedent and give carte blanche to Plaintiffs to ambush

   Defendants (like they did here) and pursue any possible minimum wage theory or Section 195

   claim – such as impermissible deductions to minimum wages (NYLL 652); requiring tipped

   employees to contribute to a tip pool that includes employees who do not customarily and

   regularly receive tips (NYLL 652); failure to notify employees of their policy on sick leave,



   5
     Judge Pollak claims that the Dove complaint references NYLL §§ 195, 196-d, 652 and 12
   N.Y.C.R.R. § 146-2.15, which all include provisions regarding the tip credit. (R&R, at 22). This
   is misleading. Only Section 652 references the tip credit, but in the context of a direction to the
   wage board to increase the tip credit to align with increases in minimum wage. It also has
   absolutely nothing to do with the tip credit notice.

    Judge Pollak also analogizes this case to Townsend v. Benjamin Enterprises (R&R, at 23).
   Townsend, however, is inapposite because here, there is significant prejudice to Defendants if the
   Court holds that these two claims are a part of this lawsuit. See also infra Point IV.C.
   6
     Law360, “Applebee’s Franchise Workers Served A Win In Wage Suit,” https://www.law360.
   com/articles/971608/applebee-s-franchise-workers-served-a-win-in-wage-suit (last visited Nov.
   21, 2017) (“[T] the certification would create a class size of nearly 15,000 employees who were
   paid $2.50 an hour less than the minimum wage over a period of six years. That class size,
   [Plaintiffs’ attorney, Robert Ottinger] said, translates into hundreds of millions owed by Apple-
   Metro to its workers.”).


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   vacation, personal leave, holidays and hours (NYLL 195(5)); and failure to notify employees of

   the exact date of termination and cancellation of benefits upon termination of employment

   (NYLL 195(6)) – without actually pleading facts in support. Such a result is unfair, contrary to

   due process, and cannot be permitted.

          In sum, in applying the de novo standard of review, this Court should hold that Plaintiffs’

   partial motion for summary judgment (and, accordingly, their motion for Rule 23 class

   certification) must be denied because, inter alia, the moving plaintiffs have not sufficiently pled

   notice of the tip credit or Section 195(1) claims in their complaints, and Defendants were

   deprived of the opportunity to fully address this claim in discovery.

          B.      Plaintiffs’ Motions For Partial Summary Judgment and Rule 23 Class
                  Certification Should Be Denied In Full Because The Moving Plaintiffs Do
                  Not Have NYLL Claims

          As for a second threshold matter, Defendants object to the R&R’s holding that the

   moving plaintiffs who have brought this partial summary judgment motion actually have claims

   under the NYLL. (R&R, at 25-29). Magistrate Pollak reasoned that the language contained in

   the FLSA collective action notice demonstrates that the moving plaintiffs somehow consented to

   bringing NYLL claims, in addition to claims under the FLSA. This is incorrect.

          First, although Judge Pollak admitted that the applicable test centered around whether the

   moving plaintiffs consented to bring state claims, she did not, in fact, apply such a test. Instead,

   she simply found that “nothing in either the Notice or Consent forms limits the scope of the

   claims to which putative plaintiffs were opting in.” (R&R, at 29). “Consent” necessarily requires

   knowledge and agreement – not lack of knowledge. Her reasoning in this regard completely

   misses the mark.

          Second, Judge Pollak is incorrect in her statement that nothing in the Notice or Consent

   limits the scope of the claims to only federal claims. The Consent that the opt-ins signed was


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   specifically titled “Consent to Join Collective Action Lawsuit(s) Regarding Wages” and stated:

           I consent to join in one or both of the above collective action(s) brought in the
           United States District Court for the Eastern District of New York and authorize
           The Ottinger Firm, P.C. and Borrelli & Associates, P.L.L.C. to act on my behalf
           in all matters relating to this action, including any settlement of my claims.

   (See, e.g., Marin, ECF No. 93 (emphasis added)).          This form references only “collective

   actions(s)” – nomenclature that only applies to actions bringing federal (not state) claims.

           More significantly, however, is that the Notice itself is clear that opt-in plaintiffs were

   only opting into Marin and/or Dove to bring federal claims:

           7. How do I ask the Court to include me in the case?

           If you choose to join either or both of these lawsuits, you must read, sign, and
           promptly return the Consent to Join form attached to this notice by [insert date in
           bold]. If the signed Consent to Join form is not postmarked, faxed, or emailed by
           [insert date], you may not be allowed to participate in the federal law portion of
           this lawsuit.

   (Marin, ECF No. 88, at 14 (emphasis added)). This is a clear indication that the opt-in plaintiffs

   were only opting to bring federal claims – not state claims – a section that Judge Pollak ignored

   in her decision. 7

           Moreover, it is important to note that Judge Pollak herself, in her decision on Defendants’

   Motion to Amend the Proposed Notice, wrote the following in response to Defendants’ request

   that all mentions to state law be removed from the Notice:

           Here, the notice refers only in passing to general violations of state law stating,
           for example, that "[t]his lawsuit is about whether Defendants' compensation
           practices violate federal and/or New York law." (Defs.’ 8/7 Let., Ex. 1 at 2).
           Given that the notice does not refer to specific state law violations as it did in
           Hanchard-James, it is unlikely that plaintiffs will be unduly confused regarding
           the basis for their potential recovery.


   7
     In contrast, the Hicks case (cited to on pages 26-27 of the R&R) contained contrary language –
   that individuals who wished to preserve and pursue any claim should opt into the case. Fengler
   and Ansoumana (R&R, at 27) do not even deal with the issue at hand here.


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   (Marin, ECF No. 88, at 7 (emphasis added)). Judge Pollak had thus previously held that opt-in

   plaintiffs would not believe, in reading the Notice, that they were opting into a lawsuit to bring

   state law claims as well. 8 Her ruling here is exactly the opposite. It cannot be both ways.

   opposite

          Finally, the R&R does not address Defendants’ argument that permitting this summary

   judgment motion to go forward would cause significant prejudice to Defendants. In Briceno v.

   USI Servs. Grp., Inc., 2016 U.S. Dist. LEXIS 9622, at *6 (E.D.N.Y. Jan. 26, 2016), on a motion

   for reconsideration, the court reversed its decision to permit the named plaintiffs to amend their

   complaint to convert certain FLSA opt-in plaintiffs into named plaintiffs, so that they can assert

   their state law wage claims as well. It held that such an amendment would cause significant

   prejudice to the defendants, who would suddenly have to face “the prospect of having to

   potentially litigate 169 additional individual NYLL claims, about which they have taken no

   discovery.” Id. at *16-17. The instant case presents the same problems. The Court should apply

   this Eastern District precedent here and recognize that the moving plaintiffs do not have standing

   to bring NYLL claims.

          In sum, in applying the de novo standard of review, this Court should hold that Plaintiffs’

   partial motion for summary judgment (and, accordingly, their motion for Rule 23 class

   certification) must be denied because the moving plaintiffs do not actually have standing to

   assert state law NYLL claims.




   8
     Defendants also note that, in contrast to Judge Pollak’s claim on page 29 of the R&R, the
   reference to “in these lawsuits” in the Notice refers to the Marin and Dove lawsuits, not any
   distinction between federal and state claims.


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          C.      Plaintiffs’ Motion For Partial Summary Judgment Should Be Denied In Full
                  Because It Is Premature

          As for the final threshold matter, Defendants object to the R&R’s holding that Plaintiffs’

   motion for summary judgment is not premature. (R&R, at 32-33). Specifically, Judge Pollak

   claims that “all relevant discovery as to whether defendants complied with Section 195(1) of the

   NYLL and whether defendants were entitled to claim a tip credit has been exchanged with regard

   to the Moving Plaintiffs.” (Id.). This is incorrect.

          As an initial matter, if this Court applies proper deference to the opinion letters (see infra

   Point V.B) or holds that Section 198(1-b)’s affirmative defense applies (see infra Point V.A),

   then additional discovery will be warranted to determine whether actual notice of the tip credit

   was given and/or whether Defendants can properly evoke the affirmative defense.

          In any event, the Court should hold that Plaintiffs’ motion is premature. All relevant

   discovery as to whether Defendants have complied with Section 195(1) of the NYLL and/or

   were entitled to claim a tip credit has not been exchanged. It is undisputed that Defendants were

   never on notice that Plaintiffs were actually pursuing tip notice or Section 195(1) claims until

   they informed Defendants of their intention to move for summary judgment several years into

   the case and prior to specific discovery taking place in connection with these claims. As stated

   in Defendants’ brief filed with Judge Pollak:

      •   On or about May 10, 2013, Marin served written discovery demands upon Defendants.
          (56.1 Additional Statement of Facts, Marin, ECF No. 286, ¶ 23). None of the document
          requests required Defendants to produce documents reflecting notice of the tip credit, or
          any wage notice forms. (Id. ¶ 24).

      •   On or about August 2, 2013, after the voluntary consolidation of the Marin and Lebron
          cases, the Marin plaintiffs served new discovery demands. (Id. ¶ 26). Again, these
          demands neglected to include any requests for tip credit notice documents or wage notice
          forms. (Id. ¶ 27).

      •   On or about October 3, 2013, Plaintiff Dove served discovery demands. (Id. ¶ 29). Like
          the document requests served in the Marin case, Dove failed to request production of tip


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           credit notice documents or wage notice forms. (Id. ¶ 30).

       •   On February 3, 2014, Plaintiffs moved for conditional certification pursuant to the FLSA.
           Plaintiffs did not reference any alleged failure of Defendants to provide tipped employees
           with notice of the tip credit. (Id. ¶ 34). 9

       •   On July 29, 2014, Magistrate Judge Pollack granted Plaintiffs’ motion and conditionally
           certified the case. (Id. ¶ 35). The subsequent FLSA notice did not reference a tip credit
           notice claim. (Id. ¶ 37).

       •   On or about June 16, 2015, as part of merits discovery on the certified claims, Plaintiffs
           served their First Set of Class-Wide Requests for Production of Documents. (Id. ¶ 38).
           Like the document requests served previously, Plaintiffs failed to request production of
           tip credit notice documents or wage notice forms. (Id. ¶ 40).

       •   The very first time Plaintiffs communicated to Defendants that they intended to assert tip
           credit notice and Section 195(1) claims was during the telephonic status conference with
           the Court on August 16, 2016, where they brought up their intention to move for
           summary judgment on these issues. (Id. ¶ 44).

   It is clear that this important matter was not the focus of any meaningful discovery. In fact, the

   only reason that Plaintiffs obtained any copies of any Section 195(1) notices was because they

   requested that Defendants produce a sampling of copies of the opt-in plaintiffs’ personnel files as

   part of their June 16, 2015 discovery requests.

           Defendants have not been able to search for additional notices that are not contained in

   personnel files or other sources of written notice of the tip credit. (Id. ¶¶ 46-48). Defendants

   also have not had the opportunity to request any discovery on Plaintiffs’ tip notice or Section

   195(1) claims (for example, copies of the WTPA or notice forms given to employees).

   Significantly, they have not had the opportunity to question individuals about the types of notice

   that they received and the various ways that they were informed of same. These are all important

   aspects of the discovery process.



   9
     Plaintiffs did not request that the Court conditionally certify their Section 195(1) wage notice
   claims, as these claims arise under state law only.


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          Judge Pollak’s commentary that “Defendants have not explained to the Court why any tip

   credit notices pertaining to particular employees would not have been included in their individual

   personnel files” and “did not maintain all of the records required by law” is a red herring. (R&R,

   at 75). First, nothing in the law states that WTPA forms must be kept in personnel files in

   particular. See NYLL § 195(1)(a). Second, there is no evidence in the record that Defendants

   did not maintain all records as required by law – Judge Pollak is making an assumption, nothing

   more. Defendants should have an opportunity to perform additional discovery – particularly

   because of the extensive liability at issue – and have been severely prejudiced in not being able

   to do so. On the flip side, Plaintiffs would experience no prejudice if this motion was stayed

   until discovery was complete.

          In sum, in applying the de novo standard of review, this Court should hold that partial

   motion for summary judgment is premature because Defendants have not yet had an opportunity

   to conduct full discovery on these issues.

   V.     ARGUMENT -- SUMMARY JUDGMENT

          A.      The Court Should Deny Partial Summary Judgment On All of Moving
                  Plaintiffs’ NYLL Tip Notice and Section 195(1) Claims Because Rule 198(1-
                  b)’s Affirmative Defense Is Retroactive and Provides a Complete Defense

                  1.      The R&R Incorrectly Holds that Section 198(1-b) Is Not Retroactive

          Section 195(1) of the NYLL specifically addresses the issue of what notice of pay rates

   and practices are necessary under the statutory scheme. As part of that scheme, the Legislature

   added an affirmative defense in Section 198(1-b), so that in cases where individuals actually

   received the proper rates, notwithstanding possible errors in the notices (or even no notice at all),

   there would be no liability. In other words, no harm, no foul. This aspect of the law plays a vital

   role in the instant case, as it would otherwise provide a complete defense to Defendants, much

   less fully defeat summary judgment.          As will be demonstrated below, Magistrate Pollak


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   incorrectly failed to apply the affirmative defense.

          Defendants’ first objection in this regard applies to the R&R’s holding that “because the

   affirmative defense which defendants seek to employ was only made effective after each Moving

   Plaintiffs was hired and defendants have not provided the Court with any evidence that,

   notwithstanding any typographical or clerical error that may have occurred previously, the New

   York legislature intended the affirmative defense to be available retroactively, the Court finds

   that defendants may not invoke the affirmative defense to the Moving Plaintiffs’ Section 195(1)

   claims.” (R&R, at 46).

          As an initial matter, Judge Pollak admitted in her analysis of this issue that the

   retroactivity argument was only raised by Plaintiffs for the first time during oral argument. It is

   well established that “[a]rguments raised for the first time at oral argument are generally

   deemed waived.” See Bd. of Managers of Mason Fisk Condominium v. 72 Berry St., LLC, 801

   F. Supp. 2d 30, 39 (E.D.N.Y. 2011); see also Halpert Enterprises, Inc. v Harrison, 2008 WL

   4585466, at *3 (2d Cir. Oct. 15, 2008) (“Furthermore, given Halpert’s failure to mention this

   argument in . . . its memorandum, raising any such claim even explicitly at oral argument would

   have been to no avail.”); 75-07 Food Corp. v Trustees of United Food & Commercial Workers

   Local 342 Health Care Fund, 2014 WL 691653, at *12 (E.D.N.Y. Feb. 24, 2014); Nobel Ins. Co.

   v. City of New York, 2006 WL 2848121, at *16 (S.D.N.Y. Sept. 29, 2006). Accordingly, Judge

   Pollak should never have entertained this argument in the first place.

          Moreover, Judge Pollak is simply incorrect in holding that the affirmative defense laid

   out in Section 198(1-b) was not always meant to apply to all violations of NYLL § 195(1). By

   way of background, prior to its recent amendment, the statute stated that the affirmative defense

   applied to “any action or administrative proceeding to recover damages for violation of




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   paragraph (d) [sic] of subdivision one of section one hundred ninety-five of this article.” N.Y.

   Lab. Law § 198(1-b) (effective April 9, 2011) (emphasis added). The reference to “paragraph

   (d)” 10 in Section 198(1-b), however, was a clear typographical error – it should have referenced

   “paragraph (a).” This is obvious when comparing it to the language of NYLL § 198 (1-d), which

   provides the same affirmative defense for violations of NYLL § 195(3), the statutory pay stub

   requirements.

           This is borne out by the legislative history attached to the subsequent amendment to

   Section 198(1-b), which corrected the error:

           Bill § 2 amends Labor Law § 198 to clarify two provisions relating to potential
           affirmative defenses under the WTPA. Currently, subdivision 1-b provides for
           two affirmative defenses (complete and timely payment of wages and good faith
           belief) in ‘...any action or administrative proceeding to recover damages for
           violation of paragraph (d) of subdivision one of section one hundred ninety-five
           of this article....’ Said paragraph (d) does not relate to any conduct that could
           result in a violation – It only provides that an employer may not be penalized for
           errors or omissions in the non-English portions of any notice provided by the
           Commissioner. The amendment deletes the reference to paragraph (d) to make
           clear that the violation in question would be a violation of subdivision 1 of
           § 195.
           ...

           Labor Law § 198 currently sets forth affirmative defenses in actions under the
           WTPA which refer back to the wrong provisions of § 195 – this bill would
           provide the correct references.

   See N.Y. Assembly, Memorandum in Support of Legislation, Bill No. A03090, at 1 (emphasis

   added). 11

           On December 29, 2014, the amendments to the WTPA were enacted into law and the


   10
      N.Y. Lab. Law § 195(1)(d) states: “An employer shall not be penalized for errors or omissions
   in the non-English portions of any notice provided by the commissioner.” Clearly, the
   affirmative defense does not make sense with a cross-reference to this provision.
   11
      A copy of N.Y. Assemb. Memorandum in Support of Legislation of Bill No. A03090 is
   attached to the Benson Declaration (“Benson Decl.”) as Exhibit A.


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   affirmative defense now correctly reads that it applies [“i]n any action or administrative

   proceeding to recover damages for violation of paragraph (a) of subdivision one of section one

   hundred ninety-five of this article.” N.Y. Lab. Law § 198(1-b) (12/29/14) (emphasis added).

          It is well established that when a legislature passes an amendment that is meant to clarify

   or correct what the statute was meant to do, that amendment is deemed retroactive to the initial

   passage of the statute. See In re Gleason (Michael Vee, Ltd.), 96 N.Y.2d 117, 749 N.E.2d 724,

   726-27 (N.Y. 2001) (the Legislature intended the amendment to the statute to apply retroactively

   because, inter alia, “the purpose of the amendment was to clarify what the law was always meant

   to do and say”); Matter of OnBank & Trust Co., 90 N.Y.2d 725, 688 N.E.2d 245, 247-48 (N.Y.

   1997) (the Legislature intended the amendment to the statute to apply retroactively because “the

   amendment was intended to clarify the law” and “was intended to clarify that statute”) (internal

   quotations and citation omitted); People ex rel. Forshey v. John, 904 N.Y.S.2d 620, 622 (4th

   Dep’t 2010) (holding that the amendment “should be given retroactive effect” because “the

   legislative history establishes that the purpose of the 2008 amendment was to clarify what the

   law was always meant to say and do”) (internal quotation marks and citations omitted).

          This amendment – which, in the Legislature’s own words was meant to “correct” what §

   198(1-b) was always meant to do and say – is therefore retroactive to April 9, 2011, the effective

   date of the WTPA. See Ahmed v. Morgans Hotel Group Mgt., LLC, 4 Misc.3d 1220(A), 55

   N.Y.S.3d 691 (Table), 2017 WL 758350, at *1, 4 (N.Y. Sup. Ct. Feb. 27, 2017) (applying the

   Section 198(1-b) affirmative defense to a plaintiff’s claims based on payments made before the

   2014 amendment).

          The cases that Judge Pollak cites to in this section of the R&R are inapposite. None of

   them address the application of the affirmative defense in NYLL § 198(1-b), or stand for the




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   proposition that the affirmative defense was not intended to be retroactive, in order to correct the

   typographical error. Simply put, her finding that the correction of the typographical error should

   not be retroactively applied is contrary to well established precedent and should not be adopted

   by the Court.

                   2.     The Application of Section 198(1-b) Provides a Complete Defense
                          Against Moving Plaintiffs’ Tip Credit Notice and Section 195(1)
                          Claims

          Since, as demonstrated above, the affirmative defense in NYLL § 198(1-b) applies

   retroactively to the Moving Plaintiffs, Defendants object to the R&R’s holding to the extent that

   Judge Pollak did not apply the affirmative defense and determine that Plaintiffs’ Section 195(1)

   and tip credit notice claims fail in their entirety. (R&R, at 45-46).

          Section 198(1-b) states:

          [I]t shall be an affirmative defense that (i) the employer made complete and
          timely payment of all wages due pursuant to this article or article nineteen or
          article nineteen-A of this chapter to the employee who was not provided notice as
          required by subdivision one of section one hundred ninety-five of this article or
          (ii) the employer reasonably believed in good faith that it was not required to
          provide the employee with notice pursuant to subdivision one of section one
          hundred ninety-five of this article.

   N.Y. Lab. Law § 198(1-b) (emphasis added).            In the present case, Defendants submitted

   undisputed evidence in support of both prongs of the affirmative defense. (See Pls. Reply

   Counterstatement, Marin, ECF No. 291, ¶¶ 53-69).

          First, Defendants submitted evidence that they reasonably believed in good faith that they

   were not required to provide the employee with the type of notice laid out in the R&R.

   Specifically, Defendants submitted a sworn declaration by Timothy Eames, Apple-Metro, Inc.’s

   Director of Human Resources and Training, stating that Apple-Metro’s policy since at least

   January 2011 was to comply with the WTPA and provide all employees with WTPA forms upon

   hire. Moreover, Mr. Eames testified that Apple-Metro instructed its general managers to fill out


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   the notices and distribute them as required, but despite this instruction, there were instances

   where a general manager did not follow this instruction. (See Defs. 56.1 Additional Statement of

   Facts, Marin, ECF No. 286, ¶¶ 53-67).          Plaintiffs, in their Reply Counterstatement, either

   admitted to this evidence outright or did not submit evidence to contradict it. (See Pls. Reply

   Counterstatement, Marin, ECF No. 291, ¶¶ 53-67). Accordingly, Defendants’ evidence of good

   faith is deemed admitted and Judge Pollak should have denied summary judgment due to

   application of this portion of the affirmative defense.

           Similarly, Defendants submitted evidence that they made complete and timely payment

   of all wages due. Specifically, Mr. Eames stated in his declaration that employees were paid

   properly through the Company’s payroll system and, specifically, tipped employees were paid

   the correct overtime rates. (Defendants’ 56.1 Additional Statement of Facts, Marin, ECF No.

   286, ¶¶ 68-69). Defendants also submitted sample payroll records in support. (Id.). Again,

   Plaintiffs, in their Reply Counterstatement, did not submit evidence that actually contradicted

   Defendants’ evidence (see Pls. Reply Counterstatement, Marin, ECF No. 291, ¶¶ 68-69), so

   Defendants’ evidence is deemed admitted and Judge Pollak should have denied summary

   judgment due to application of this portion of the affirmative defense as well.

           Later in her opinion, Judge Pollak takes issue that the proper wages were paid. In what is

   clearly flawed and circular reasoning, she claims that “defendants are incorrect in arguing that

   the Moving Plaintiffs received the proper amount of compensation. Given that defendants did

   not provide the required notice, they were not entitled to claim a tip credit.” (R&R, at 76).

   According to this reasoning, since Defendants did not provide the required notice, they were not

   entitled to claim a tip credit. If they were not entitled to take the tip credit in the first place, the




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   argument goes, they did not pay proper wages. Judge Pollak’s reasoning does not stand up to

   scrutiny.

          First, the Magistrate’s finding is contrary to the evidence and the plain wording of the

   statute. Second, Judge Pollack’s finding is illogical. In effect, her interpretation reads the

   affirmative defense right out of the law. If the Court were to adopt Judge Pollak’s logic here,

   there is no possible scenario where an employer could take advantage of Section 198(1-b)’s

   affirmative defense with respect to tipped employees. Simply put the legislature, in passing

   Section 198(1-b), wanted to create a safe harbor for employers who paid its employees correctly,

   but did not tell employees that they were paying them correctly. There is no other possible

   rationale as to why else the legislature would have included this affirmative defense.

          According to Judge Pollak’s logic, a non-tipped employee who got no notice or a

   technically non-compliant notice would not be entitled to a recovery as long as she was paid

   properly. A tipped employee, on the other hand, would be entitled to recovery under the exact

   same circumstances. This makes no sense and is contradicted by the express wording of Section

   198(1-b).

          Finally, as explained in Point V.B infra, providing a technically compliant written notice

   is not a pre-condition of taking the tip credit. Rather, as long as an employer (1) paid the tipped

   minimum and overtime rates, and (2) made up the difference between the full and tipped rates if

   the employees’ total tips did not meet or exceed the full minimum wage and overtime wage

   rates, the employees were paid properly – notwithstanding any alleged problems with the notice.

   Since Plaintiffs have not submitted any evidence on this motion that they were not paid properly

   (outside the tip credit notice issue), there is no basis to conclude that all wages were not properly

   paid and that the affirmative defense should not apply.




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          The New York Supreme Court’s decision in Ahmed v. Morgans Hotel Group Mgt., LLC,

   decided after the parties submitted their summary judgment briefing, is directly on point. There,

   plaintiff – a tipped employee who worked from 2013 until March 2015 – was paid $5.00 an hour

   with defendant taking the tip credit. Ahmed, 2017 WL 758350, at *1. Plaintiff, however, sued

   defendant for minimum wage violations, arguing that it lost the right to take the tip credit

   because it failed to give proper notice 12 in violation of Section 195 and 12 N.Y.C.R.R. §146–

   2.2(a). Id.

          The Court, however, applied Section 198(1-b)’s affirmative defense and found for

   defendant:

          Plaintiff fails, however, to address the fact that the Labor Law was recently
          amended to protect employers from a mere technical violation of the notice
          provision, and that this amendment provides a complete defense to his minimum
          wage claim. Labor Law § 198(1–b) and (1–d) provide that, when an individual is
          not provided with the requisite notice, the employer will not be liable where the
          employee was always paid an amount equal to or above the minimum wage
          throughout his employment. In other words, if the employee suffered no actual
          injury as a result of not being given the notice, there is no liability. That is exactly
          what happened here—the documentary evidence demonstrates that plaintiff was
          always paid at least the minimum wage. This fact provides a complete defense to
          plaintiff's claim (see Labor Law § 198[1–b]). Accordingly, summary judgment
          must also be granted dismissing the second cause of action.

   (Id. at *4 (emphasis added)). As far as we are aware, this is the ONLY case – state or federal –

   that interprets the application of the affirmative defense to payment of tipped employees. It

   makes perfect sense and should be followed by this Court here.

          In sum, in applying the de novo standard of review, this Court should hold that Plaintiffs’

   partial motion for summary judgment (and, accordingly, their motion for Rule 23 class

   certification) must be denied due to Defendants’ reliance on the affirmative defense.


   12
      The WTPA notices in Ahmed did not explicitly state “that ‘extra pay is required if tips are
   insufficient to bring the employee up to the basic minimum hourly rate.’”


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          B.      The Court Should Deny Partial Summary Judgment on Plaintiffs’ NYLL Tip
                  Credit Notice Claims Because Only Actual Notice – Not Written Notice – Is
                  Required

          The main issue to be addressed in this matter involves the question of what, if any, notice

   is required in order for an employer to take a tip credit and, more specifically, whether a 100%

   compliant written notice is a prerequisite. Judge Pollak concluded that it is. (R&R, at 77-79).

   For reasons that will be explained in detail below, she is incorrect. Her conclusion in this regard

   is in direct contravention of the opinion of the New York Department of Labor – the agency

   responsible for promulgating the very regulations that she is supposedly interpreting – that only

   actual notice is required. Judge Pollak attempts to get around this conundrum by arguing that the

   opinion is not entitled to deference and should be disregarded. Again, she is incorrect.

          As a result, Defendants object to the R&R’s holding that the Ben-Amotz Letter should

   not be given deference and written notice – not actual notice as is specified in the letter – is

   required to take the tip credit. (R&R, at 69-73).

                  1.      Legislative, Regulatory, and Judicial Precedent All Support the
                          Commissioner of Labor’s Opinion that Only Actual Notice Is
                          Required

          Under NYLL, an employer may claim the tip credit “provided that the tips of such an

   employee, when added to such cash wage, are equal to or exceed the minimum wage in effect.”

   See NYLL § 652(4). This is the only requirement set forth in the law. There is no written notice

   requirement set forth in the NYLL in order for an employer to be eligible for the tip credit.

          Consistent with Section 652(4), prior to January 1, 2011, the tip credit regulations

   provided that: “a food service worker shall receive a cash wage of at least [tipped rate] per hour,

   provided that the tips of such worker, when added to such cash wage, are equal to or exceed [the

   basic minimum hourly wage].” 12 N.Y.C.R.R. § 137-1.5. Again, there was no written notice

   requirement in order for an employer to be eligible for the tip credit.


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             After January 1, 2011, the tip credit regulations were amended to provide: “An employer

   may take a credit towards the basic minimum hourly rate if a service employee or food service

   worker receives enough tips and if the employee has been notified of the tip credit as required in

   Section 146-2.2.” 12 N.Y.C.R.R. § 146-1.3. Again, the language in this regulation contains no

   specific written notice requirement in order for an employer to be eligible for the tip credit.

   And, with respect to notice, although the regulation provides that an employee be “notified” of

   the tip credit, it does not (and, as will be discussed below, this is consistent with the Federal law

   that it was designed to follow) specifically require “written” notice.         Had Section 146-1.3

   required “written” notice, it would have made this explicit within the regulation itself. 13

             The regulatory history of the amendment reinforces this important point. Prior to issuing

   the 2011 regulations, the Commissioner asked the Minimum Wage Board:

             Under federal law, in order to receive a tip allowance, employers must inform
             tipped employees that they are getting a lower rate based on receipt of gratuities,
             and must also keep an accurate record of tips received by employees. Employers
             who do not do so may not receive a tip allowance. Should the Wage Orders be
             amended to conform with federal law in this respect?

   See Legislative History, Commissioner of Labor M. Patricia Smith, Opening Statement and

   Charge to the 2009 Restaurant and Hotel Industry Wage Board, at 2 (Mar. 31, 2009) (emphasis

   added). 14 In other words, prior to 2011, the Wage Order did not require employers to provide

   any notice to their employees.

             In response, the Board recommended that:



   13
      For example, if the NYDOL intended to make written notice a requirement, it could have
   drafted Section 146-1.3 as follows: “An employer may take a credit towards the basic minimum
   hourly rate if a service employee or food service worker receives enough tips and if the
   employee has been notified [in writing] of the tip credit as required in Section 146-2.2.”
   14
        The legislative history is attached to the Benson Declaration as Exhibit B.


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           The Commissioner adopt a requirement that when employees receive a lower
           hourly wage based on the receipt of tips (a tip allowance), employers be allowed
           to receive such a tip allowance only if they notify the employee of the tip credit
           system.

   See Report and Recommendation of the Minimum Wage Board to the Commissioner of Labor

   Pursuant to Labor Law Section 655 (Article 19, the Minimum Wage Act), Benson Decl. Ex. B,

   at 12 (emphasis added). Consistent with the federal law upon which it was modeled, the Board

   did not recommend to the Commissioner that written notice be provided before an employer

   claim the tip credit.

           In response, the Commissioner agreed with the Board’s recommendation: “I accept the

   recommendation to require employers to notify tipped employees of any tip allowances that will

   be taken and to disallow the tip allowance if such notice is not given.”           See Order of

   Commissioner of Labor M. Patricia Smith on the Report and Recommendations of the 2009

   Wage Board, Benson Decl. Ex. B, at 19 (emphasis added). Again, the Commissioner said

   nothing about a written notice requirement. Nor does it make sense that she would have – the

   federal law upon which the regulation was modeled contained no such requirement.

           Thereafter, the regulations were amended in 2011 to “conform with federal law” (id. at

   2), which does not require written notice. See 29 U.S.C. § 203(m); Franco v. Jubilee First Ave.

   Corp., 2016 U.S. Dist. LEXIS 114191, at *50 (S.D.N.Y. Aug. 25, 2016) (“the FLSA has no

   requirement that employees also receive written notice of the tip-credit election” (emphasis

   added)); Khereed v. W. 12th St. Rest. Group LLC, 2016 WL 590233, at *2 (S.D.N.Y. Feb. 11,

   2016) (under the FLSA, “[a]n employer may orally advise the employee of the tip credit.”).

           Despite this clear direction, Judge Pollak held that a 100% compliant written notice is

   necessary to take the tip credit. In attempted support of this proposition, she relies on 12

   N.Y.C.R.R. § 146-2.2 of the Commissioner’s regulations. This reliance is misplaced. While it



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   contains a requirement that certain information be communicated in writing, it contains no

   mention whatsoever of the tip credit and does provide support for the position that it is a

   condition precedent for same.       Notably, Section 146-2.2, which is the regulation in the

   hospitality wage order that interprets NYLL § 195(1), has separate remedies set forth in NYLL §

   198, which have nothing to do with the loss of the tip credit.

           Moreover, the reference in Section 146-1.3 (tip credit regulation) to the notice required in

   Section 146-2.2 (written notice regulation) provides no help in this regard. Section 146-2.2 –

   which, as stated above, has nothing to do with the tip credit and has a separate enforcement

   mechanism – simply describes the type of notice that needs to be provided, not the form. Again,

   had Section 146-1.3 required written notice, it would have so stated. It did not. Thus, as long as

   Section 146-2.2’s requirements are met and any such notice – not necessarily written notice – is

   provided, the prerequisites set forth in Section 146-1.3 have been satisfied and the tip credit can

   be taken. Judge Pollak failed to recognize how all of this fits together and thus erred in her

   conclusion that 100% compliant written notice is required to take the tip credit.

           The above interpretation of the statutory and regulatory scheme is not just theoretical.

   Rather, the Commissioner of Labor, who was responsible for drafting the regulations at issue and

   is presumably the best source when it comes to their interpretation, is in complete agreement.

   The NYDOL has issued opinion letters, which, in direct contravention of the Magistrate’s

   holding, unequivocally states that written notice is not required in order for an employer to be

   eligible to claim the tip credit.

           On March 4, 2015, Pico Ben-Amotz, General Counsel to the NYDOL, wrote a letter to

   the Hon. Joseph D. Morelle, Majority Leader of the New York State Assembly, regarding the

   availability of the tip credit in situations, like the present case, where actual notice – as opposed




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   to 100% compliant written notice – was provided (the “Ben-Amotz Letter”). The letter asserts

   that a “food service employer is eligible to claim the tip credit even when they fail to provide

   written notice of the tip credit rules provided that the employer can demonstrate compliance

   with all of the other minimum wage requirements and that their employees understood the

   manner in which the employer took the tip credit.” This is entirely consistent with the above

   described regulatory history of the tip credit regulations.

             Thereafter, a District Court Judge in the Southern District of New York recognized that

   the Ben-Amotz Letter, in stating that written notice was not a condition precedent to taking the

   tip credit, was entitled to deference. See Carvente-Avila v. Chaya Mushkah Rest., 2016 WL

   3221141, at *2 (S.D.N.Y. Mar. 1, 2016). 15

             Then, the NYDOL reaffirmed its position a second opinion letter. On May 4, 2016,

   James Rogers, Deputy Commissioner for Worker Protection for the NYDOL, wrote a letter to

   the Hon. Joseph D. Morelle (the “Rogers Letter”). 16 In that letter, Mr. Rogers quoted and

   attached the original Ben-Amotz Letter, and similarly concluded that where employees, as in the

   instant case, have actual notice of the tip credit, an employer will not be deprived of the right ot

   take a tip credit.     Consistent with the above described regulatory history of the tip credit

   regulations and the Ben-Amotz Letter, Mr. Rogers stated:



   15
      See also Franco, 2016 U.S. Dist. LEXIS 114191, at *39-40 (sua sponte recognizing the
   potential application of the Ben-Amotz Letter, but holding that defendants had waived any
   arguments regarding its applicability); Almanzar v. 1342 St. Nicholas Ave. Rest. Corp., 2016
   U.S. Dist. LEXIS 155116, at *39 n.12 (S.D.N.Y. Nov. 7, 2016) (“The NYLL has similar notice
   provisions . . . although the New York Department of Labor (NYDOL), as well as at least one
   other court in this district, has interpreted those provisions to permit employers lawfully to claim
   the tip credit if they can prove that their employees understood that they were being paid
   pursuant to the tip credit minimum wage (internal quotation omitted).”).
   16
        The Rogers Letter is attached to the Benson Declaration as Exhibit C.


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          If an employer can demonstrate compliance with all of the other minimum wage
          requirements, that its employees received legal wages, that its employees
          understood the manner in which the employer took a tip credit, that its employees
          understood they could never earn less than the minimum wage, there is no policy
          rationale to preclude the employer from claiming the tip credit. However, as we
          stated in our March 15, 2015 letter, this is not to suggest that an employer's failure
          to comply with the complete written notice requirements in 12 N.Y.C.R.R. § 146-
          2.2 is without consequence. If an employer fails to comply with Section 146-2.2,
          the employer is subject, at a minimum, to civil penalties pursuant to Section 218
          of the Labor Law.
          ….
          The conclusion here also recognizes the need to prevent unintended
          consequences, such as loss of eligibility for the tip credit for otherwise compliant
          employers and an unjustified windfall for employees that have actual notice of
          their employer’s tip credit practices.

   See Rogers Letter, Benson Decl. Ex. C, at 2 (emphasis added). These two letters legitimately

   represent the position of the Commissioner of Labor and are, by their very terms, entitled to

   deference.

                  2.      Judge Pollak Is Incorrect That Written Notice Is Required and that
                          the Opinion Letters Are Not Entitled to Deference

          In finding that written notice is required, Judge Pollak completely ignored the above

   legislative, regulatory, and judicial precedent to conclude that the Ben-Amotz Letter is not

   entitled to deference. (R&R, at 69-73). This is incorrect.

                          a.     Judge Pollak’s Holding that the Ben-Amotz Letter’s Reasoning
                                 Is Irrational and Unreasonable Is Incorrect

          The R&R holds that the Ben-Amotz Letter is not entitled to deference because it is

   irrational and unreasonable. (R&R, at 71-72). This position is curious, however, given the fact

   that it was the Department of Labor itself that promulgated the regulations at issue in the first

   place. The NYDOL knew what it intended when they set up the regulatory scheme. And, the

   NYDOL certainly knows whether ministerial violations of the notice requirement, without real

   consequence to the employees, should result in the loss of the tip credit.

          The decision of the Magistrate in this regard is directly contrary to the position taken by


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   Judge Forrest. As recognized by Judge Forrest in the Carvente-Avila decision, there is a rational

   basis for the conclusions made in the Ben-Amotz Letter. The Court pointed out three separate

   rational bases (which were also set forth in the Ben-Amotz Letter):

      (1) the plain language of the tip credit notice regulation itself, Section 146-1.3, does not
          require written notice,
      (2) there was a policy reason for not allowing loss of the tip credit as a remedy for the pay
          notice regulations – because of the “‘need to prevent unintended consequences, such as
          loss of eligibility for the tip credit for otherwise compliant employers and an unjustified
          windfall for employees that have actual notice of their employer’s tip credit practices’”;
          and
      (3) Section 146-2.2’s penalties already provide “strong incentive” to comply with the pay
          notice regulations.

   Id. at *2-3. This interpretation is also rational because it is consistent with the history of 12

   N.Y.C.R.R. § 146-1.3 itself, as summarized above.

          Judge Pollak does not defer to the Ben-Amotz Letter’s analysis because it “conflicts with

   the plain language of the regulations that the Department itself has promulgated.” (R&R, at 71).

   In particular, Judge Pollak takes issue with the fact that Section 146-1.3 cross-references Section

   146-2.2, with the latter regulation requiring written notice.         (Id.).   However, it is not

   unreasonable that the NYDOL has interpreted Section 146-1.3’s reference to Section 146-2.2 as

   setting forth the form that the notice should take and not necessarily mean that written notice is

   required in order to take the tip credit. As stated by the Ben-Amotz Letter and quoted by Judge

   Forrest in the Carvente-Avila decision, “‘[h]ad Section 146-1.3 required a written notice of the

   tip credit rules, such a writing requirement would be explicit in the regulation.’” Carvente-Avila,

   2016 WL 3221141, at *2. Judge Pollak should have awarded the Ben-Amotz Letter deference.

                         b.      The R&R Fails to Apply the Appropriate Legal Standard in
                                 Determining Whether to Apply the Interpretation Set Forth in
                                 the Ben-Amotz Letter

          The only question that the R&R should have asked is whether the Ben-Amotz Letter was



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   entitled to deference. However, Judge Pollak went beyond the applicable legal test and formed

   her own test out of whole cloth – whether the Ben-Amotz Letter really and truly represents the

   NYDOL’s actual opinion on the relevant regulations. (R&R, at 69-70). This is baffling. We

   initially point out that the letter explicitly opens with the following statement: “I write to

   summarize the Department of Labor’s (DOL) interpretation of the intersection of the tip credit

   and notice of pay rules in 12 N.Y.C.R.R. §§ 146-1 .3 and 146-2.2.” (Marin, ECF No. 287-16, at

   1). It is simply not correct to conclude that, given this language, the letter does not represent the

   opinion of the NYDOL and the Commissioner.

          In arguing against the application of deference, Judge Pollak points to three red herrings

   – none of which are actually grounded in the appropriate legal standard and none of which

   should have been considered in determining whether the reasoning contained in the Ben-Amotz

   Letter is irrational and unreasonable or entitled to deference. Nevertheless, Defendants address

   these points below.

          First, the R&R claims that the “Department of Labor has expressly stated that it does not

   ‘issue opinions on a case-by-case basis.” (R&R, at 70). If you look at any of the opinion letters

   found on the NYDOL’s website, however, they all address a particular employer’s question – on

   a case-by-case basis.

          Second, the R&R points to the NYDOL’s “Frequently Asked Questions” page as

   purported evidence that there was “subsequent guidance” from the NYDOL indicating that the

   Ben-Amotz Letter does not, in fact, reflect the agency’s position on written notice. (R&R, at

   70). This is wrong for at three reasons.

          As an initial matter, the FAQs have been around for years, and therefore do not provide

   any new subsequent guidance. And, contrary to Judge Pollak’s unsupported statement in the




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   R&R that the FAQs are the “only form of guidance” from the NYDOL (R&R, at 71), the

   NYDOL’s website, under “Counsel,” expressly provides just the opposite – that “[i]f it is

   determined, in the Commissioner’s discretion, that guidance on a specific issue is necessary, a

   letter with new guidelines may be issued.”             See Counsel, https://www.labor.ny.gov/legal/

   counsel.shtm (last visited Nov. 10, 2017) (emphasis added). This is precisely what happened

   here. If anything, “subsequent guidance” in the form of the May 4, 2016 letter from James

   Rogers, the Deputy Commissioner for Worker Protection for the NYDOL, reinforces the

   rationality of the NYDOL’s position in the Ben-Amotz Letter. Even if Mr. Ben-Amotz, as

   General Counsel of the NYDOL, is not recognized as an authority on the meaning of the

   regulations promulgated by the NYDOL, there can be no dispute that the Deputy Commissioner

   is, in fact, such an authority.

           In any event, there is nothing in the FAQs that states that written notice is a prerequisite

   to claiming the tip credit.       To the contrary, as far as eligibility to claim the tip credit is

   concerned, the FAQs only state: “For an employer to claim a tip credit/allowance (and pay a

   reduced hourly wage in conjunction with the tips received by the employee), the employer must

   prove that the employee actually received such tips.”              See FAQs, https://labor.ny.gov/

   legal/counsel/pdf/tips-frequently-asked-questions.pdf (last visited Nov. 22, 2017) (emphasis

   added). The sentence laying out the requirements to take the tip credit ends there. Only in the

   next sentence do the FAQs state that employers must also give “written notice that the employer

   will apply a tip credit or allowance toward their minimum wage.”              However, this is not

   surprising. Section 146-2.2 – with its separate enforcement mechanism that has nothing to do

   with the tip credit – explicitly requires written notice. It makes sense that the FAQs would

   reference Section 146-2.2’s requirements as well. This distinction is important, material and was




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   entirely overlooked in the R&R.

          Finally, the R&R attempts to find justification for ignoring the direction of the

   Department of Labor by asserting that the regulations would have been amended had they not

   required written notice. (R&R, at 72). The Magistrate reasons: “despite amending the relevant

   statute after the date of Mr. Ben-Amotz’s letter, the New York state legislature did not amend the

   statute to permit an employer to claim a tip credit based on oral notice to the employee of the tip

   credit allowance,” citing 12 N.Y.C.R.R. § 146-2.2. Of course, 12 N.Y.C.R.R. § 146-2.2 is not a

   “statute,” nor was it drafted (or amended) by the New York state legislature. And, as stated by

   the NYDOL, the regulations never required written notice – therefore no amendment is or was

   necessary.

          The suggestion that we should just ignore the guidance in Ben-Amotz Letter, when by its

   terms, it specifically states that it is written to “summarize” the “interpretation” of the

   intersection of the tip credit and notice rules – the precise issue that is presented in this case –

   finds no legal support. There is simply no legal justification to ignore such an important

   document and otherwise deprive Defendants of what should be a complete defense.

          In sum, applying the de novo standard of review, this Court should hold that partial

   motion for summary judgment should be denied for the many reasons stated herein. Not only

   should this notice claim not be in the case in the first place, but it is certainly not ripe for

   summary adjudication. The Department of Labor has made it very clear that only actual notice –

   as opposed to 100% compliant written notice – is required as a condition to apply the tip credit.

   Because Defendants have provided uncontroverted evidence that the Moving Plaintiffs were

   provided with the requisite actual notice (see Pls. Reply Counterstatement, §§ 70-79), summary

   judgment should be denied in all respects.




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          C.      The Court Should Deny Partial Summary Judgment on Certain Moving
                  Plaintiffs’ NYLL Tip Notice and Section 195(1) Claims Because There Was
                  No Violation of the Law

                  1.     Defendants Complied with the Explicit Language of Section 195(1)
                         and 12 N.Y.C.R.R. § 146-2.2 for Certain Moving Plaintiffs

          Defendants object to the R&R’s holding that “none of the wage notices submitted

   contain[s] the proper figures for the overtime hourly pay rate.” (R&R, at 39). As argued below,

   if the correct overtime wage rate is the full overtime rate – instead of the tipped overtime rate –

   then the majority of the Moving Plaintiffs forms are compliant.

          In the R&R, even though the Moving Plaintiffs were tip eligible and got paid the tipped

   minimum in the ordinary course of their employment, Judge Pollak held that their

   “regular hourly pay rate” – the rate that is supposed to be on the WTPA notice – is calculated as

   the employee’s hourly pay rate before subtracting the tip credit.” (R&R, at 40). Thus, she found

   that the full minimum wage rate, and not the tipped minimum wage rate, is the only regular rate

   that needs to be listed on the WTPA notices. (R&R, at 41).

          However, Judge Pollak went in the complete opposite direction with respect to her

   analysis of what overtime rate must be listed on the WTPA form. Specifically, she held that the

   WTPA notices for tipped employees must list the tipped overtime rate – not the full overtime

   rate. In other words, according to the R&R, WTPA notices for tipped employees are only

   compliant if they list the full minimum wage rate and the tipped overtime rate. This doesn’t

   make any logical sense. The WTPA notice needs to be consistent.

          Adopting Judge Pollak’s analysis with respect to the regularly hourly pay rate, the proper

   overtime rate that needs to be listed on the WTPA notice would be the full overtime hourly pay

   rate – not the tipped overtime pay rate. Otherwise, tipped employees will have no hope of

   understanding what they are actually supposed to be paid.          And, this is in line with the



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   Hospitality Wage Order’s template Notice of Pay Rates and Pay Day, located directly after

   Section 146-2.2. In the template notice, there is a section only applicable to tipped employees.

   It states: “If you do not receive enough tips over the course of a week to bring you up to the

   minimum hourly rates of $__ per hour for the first 40 hours and $ __ per hour for hours over 40,

   you will be paid additional wages that week to make up the difference.” The only rates that

   would make sense there are the full minimum wage and full overtime rates.

          Thus, according to Judge Pollak’s logic as applied to the choice of overtime rate, Moving

   Plaintiffs who received wage notices upon hire that listed the full minimum wage rate and full

   overtime rate are, in fact, compliant with NYLL § 195 and 12 N.Y.C.R.R. § 146-2.2. Out of

   those Moving Plaintiffs for whom Judge Pollak granted summary judgment, they include: Dove,

   Lebron, Gillespie, Nesmith, Butler, Brunson, Ferrara, Jemmott, Kastuk, James, Karumba,

   Curtiss, Stallings, Reid, Scheur, Cohen, Wassif, Michaud, Schmoll, Magagnin, Friscia,

   Randazzo, Reilly, Serrano, and Ruiz. All of these Moving Plaintiffs received wage notices with

   the following information:

          6. Information About Employer’s Use of Tip Credit

          The tip credit only applies to employees who have been informed of the tip wage
          credit requirements.

          The tip credit taken may not exceed the value of tips actually received in a work-
          week.

          If you do not receive enough tips over the course of a work-week to bring you up
          to the minimum hourly rates of $[x.xx] 17 per hour for the first 40 hours of work
          and $[x.xx] per hour for hours over 40, you will be paid additional wages that
          week to make up the difference.



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      The notation to “$[x.xx] per hour” is used here because different WTPA forms for the Moving
   Plaintiffs have different rates included, as the minimum wage and overtime rates were different
   in certain years.


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           All tips received by you must be retained by you except to the extent that you
           participate in a valid tip pooling arrangement limited to employees who
           customarily and regularly receive tips.

   (See supra notices produced by the above named Moving Plaintiffs and attached to the Graff

   Decl., Marin, ECF No. 280-12 through 280-73). In this paragraph 6, the full minimum wage rate

   and full overtime rate – the only rates that are required to be included in the notice as per Judge

   Pollak’s logic – are listed.

           As Judge Pollak states in the R&R, “provided the notice was given and the employee

   acknowledged receipt, the extent to which the employee did or did not understand the contents of

   the notice is not material.” (R&R, at 74). The simple fact that the required rates are listed in the

   notice is sufficient for purposes of Section 195 and the Court should deny summary judgment as

   against these Moving Plaintiffs. 18

           In sum, in applying the de novo standard of review, this Court should hold that partial

   motion for summary judgment should be denied for the above named Moving Plaintiffs because

   their notices were compliant with NYLL § 195.

                   2.      Moving Plaintiff Schmid Has No Section 195 Claim Because There
                           Were No Notice Requirements Before 2011

           Defendants object to the R&R’s holding that “Since it is defendants’ burden to establish

   entitlement to the tip credit and they have not provided any proof of compliance as to Ms.



   18
      At the very least, the inclusion of both tipped and full minimum wage rates (and even incorrect
   tipped overtime rates) creates a material issue of disputed fact regarding whether the employees
   understood what information the notice was meant to impart. See, e.g., Khereed v W. 12th St.
   Rest. Group LLC, 2016 WL 590233, at *3 (S.D.N.Y. Feb. 11, 2016) (denying employee’s
   motion for summary judgment where notice stated the employee was paid a rate of $7.50 for
   overtime); Pest v. Bridal Works of New York, Inc., 2017 WL 3393967, at *16 (E.D.N.Y. July 27,
   2017) (“Even so, since it is still a disputed issue of fact as to whether . . . her pay stubs accurately
   indicated her method of pay, the Court reserves decision on whether defendants have violated
   Section 195(3) by . . . failing to accurately indicate plaintiff's method of pay on her pay stubs.”).


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   Schmid, the Court respectfully recommends that the Moving Plaintiffs’ motion for partial

   summary judgment on the minimum wage claims filed by Ms. Schmid under the NYLL be

   granted.” (R&R, at 53).

          As an initial matter, Plaintiffs only moved for summary judgment on the basis that

   “[n]one of the notices that Apple-Metro provided as to the eighty-eight Moving Plaintiffs (or to

   any Plaintiffs for whom Apple-Metro has produced notices during discovery) contain either (1)

   the correct regular rate of pay (the full minimum wage), or (2) the correct overtime rate of pay.”

   (Pl. Moving Br., Marin, ECF No. 277, at 44). Accordingly, in order to successfully avoid

   summary judgment, Defendants only had to provide evidence that a material issue of fact existed

   as to whether those rates were properly included. Judge Pollak’s statement that Defendants had

   the burden to prove they complied with the pre-2011 tip credit requirements in order to avoid

   summary judgment (R&R, at 54) -- which essentially flips the burden and asks Defendants to

   proffer proof as though they had moved for summary judgment -- is simply incorrect and creates

   a burden which is not required under the law. See, e.g., Salahuddin v. Goord, 467 F.3d 263, 273

   (2d Cir. 2006) (“If the movant makes this [initial] showing . . . the burden shifts to the

   nonmovant to point to record evidence creating a genuine issue of material fact.”); Central

   Pension Fund, 1998 WL 865594, at *8 (N.D.N.Y. Dec. 9, 1998) (non-movant’s “failure to come

   forward with documentary evidence in opposing summary judgment is not fatal” and, instead,

   the “proper question in deciding the [movant’s] motion for summary judgment is whether [non-

   movant] has submitted evidence that raises a factual dispute . . . .”).

          In any event, Judge Pollak is incorrect in finding that there were three prerequisites to

   taking the tip credit before 2011. (R&R, at 53). Before 2011, the Minimum Wage Order for the

   Restaurant Industry governed. Section 137-1.5 only stated that in order for employers to take the




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   tip credit, they had to ensure that “the tips of such worker, when added to such cash wage, are

   equal to or exceed” the applicable full minimum wage. As such, courts in the Eastern and

   Southern Districts have held that this is the only prerequisite to taking the tip credit. See, e.g.,

   Jin v Pac. Buffet House, Inc., 2009 WL 2601995, at *4 (E.D.N.Y. Aug. 24, 2009); Wei Yan Yan

   v. 520 Asian Rest. Corp., 2014 WL 7177259, at *10 (S.D.N.Y. Dec. 17, 2014). Section 137-2.2,

   cited by Judge Pollak, is inapposite and Plaintiffs have not provided any evidence that Schmid

   was not paid correctly.

             In applying the de novo standard of review, this Court should hold that partial motion for

   summary judgment should be denied for Plaintiff Schmid with respect to his tip credit notice

   claims.

   VI.       ARGUMENT – CLASS CERTIFICATION

             The R&R is incorrect in its determination that class certification should be granted on

   behalf of the two revised subclasses. (R&R, at 94-98, 104-08). The decision is not only

   premised on the inaccurate conclusion that 100% compliant written notice (as opposed to actual

   notice) is a pre-condition of taking the tip credit and the affirmative defense does not apply, but

   also rests solely on the erroneous finding that, in any event, none of the WTPA forms contain the

   proper overtime rate. As explained below, this Court should not adopt any of the R&R’s

   reasoning on these matters and, as a result, deny class certification in its entirety.

             A.     The Court Should Deny Class Certification Because the Application of the
                    Opinion Letters and/or the Affirmative Defense Destroys Commonality and
                    Predominance

                    1.     Granting Deference to the Opinion Letters Destroys Commonality
                           and Causes Individual Issues to Predominate Over Common Ones
                           with Respect to Subclass-A

             In finding that this matter is suited to class treatment, Judge Pollak disagreed with the

   Commissioner of Labor that actual, as opposed to 100% compliant written notice, is the proper


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   precondition for use of the tip credit. This was plain error. If the Court agrees with the

   Commissioner in this regard, the Magistrate’s entire class analysis is flawed and ultimately

   cannot withstand scrutiny.

          If only actual notice – not 100% compliant written notice – is required as a prerequisite

   for taking the tip credit, then the Court must deny class certification as to Subclass A. Because

   actual notice can take many forms, and involves the assessment of numerous factors, it

   automatically requires an individualized analysis. Far from the requisite commonality, there is

   simply no common contention that is capable of class-wide resolution. Class members have not

   necessarily suffered the same grievance (if any), and trying the case based upon representative

   proof would be impossible.

          By way of example, with respect to Subclass A, some employees received written notice

   of the tip credit via Section 195(1) forms, the Notice to Team Members Who Receive Tips,

   and/or employee handbook. (56.1 Additional Statement of Facts, Marin, ECF No. 286, ¶¶ 73-

   77). Others, however, allegedly did not receive written notice, but received oral notice. (Id. ¶

   78-79). Still others allegedly did not receive any notice of the tip credit – whether it be written

   or oral – and could potentially (depending on the individualized assessment of the application of

   the affirmative defense) cause Defendants to lose the right to take the tip credit. There is simply

   no common or representative evidence that can answer the question of whether an employee

   received notice of the tip credit, “in one stroke,” generating a common answer. Dukes, 131 S.

   Ct. at 2551.

          For plaintiffs who did not receive written notice of the tip credit, in particular, only

   individualized testimony will be able to provide the evidence required to resolve those plaintiffs’

   claims. This is fatal to Plaintiffs’ certification of Subclass A. See Gardner v. Western Beef




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   Props., 2011 U.S. Dist. LEXIS 146467, at *10 (E.D.N.Y. June 16, 2008) (class certification

   denied despite plaintiffs’ “common questions” because the answers would require

   “individualized examination[s]” of each class member); Diaz v. Electronics Boutique of Am.,

   Inc., 2005 U.S. Dist. LEXIS 30382, at *23 (W.D.N.Y. Oct. 13, 2005) (same); Romero v. H.B.

   Auto. Group, Inc., 2012 U.S. Dist. LEXIS 61151, at *51 (S.D.N.Y. May 1, 2012) (same);

   Edwards v. Publrs. Circulation Fulfillment, Inc., 268 F.R.D. 181, 188-89 (S.D.N.Y. 2010)

   (same).

                    2.      The Application of the Affirmative Defense Destroys Commonality
                            and Causes Individual Issues to Predominate Over Common Ones
                            With Respect to Both Subclasses A and B

             Similarly, the potential application of the affirmative defense (discussed in Point V.A

   supra) also renders this matter unsuitable for class treatment. As previously demonstrated,

   contrary to the holding of the Magistrate, the affirmative defense must be applied retroactively.

   And, Plaintiffs have not submitted sufficient evidence to dispute Defendants’ evidence that either

   or both prongs of the defense should be applied. Certainly, and in any event, this is going to be

   an individual-by-individual determination. For this reason alone, the Court should deny class

   certification in full.

             The decision in Gregory v. Stewart’s Shops Corp., 2016 U.S. Dist. LEXIS 89576, at *98-

   99 (N.D.N.Y July 8, 2016), is instructive in this regard. There, like the instant case, defendant

   had a lawful policy of providing wage notices. (Pls. Reply Counterstatement, Marin, ECF No.

   291, ¶¶53-69). Also, as here, plaintiffs claimed that defendant did not follow its policy and

   violated Section 195(1).       In denying class certification, the Court specifically noted that

   defendants were asserting an affirmative defense. The Court held:

             [T]he plaintiffs are clearly claiming that they did not receive all wages they were
             due . . . . Thus, resolution of the affirmative defense to plaintiffs' wage
             notification claim will implicate the same concerns about individualized proof


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           that precluded class certification of plaintiffs' NYLL off-the-clock claims. It is
           clear in this Circuit, that a Rule 23 class action may be denied if individualized
           issues relating to a defense in a wage and hour action predominate over issues of
           law and fact common to the proposed class.

   Id. (citing Myers, 624 F.3d at 551) (emphasis added). The instant case is indistinguishable.

   Since “mini-trials” are an eventuality here, see, e.g., Moore v. PaineWebber, Inc., 306 F.3d 1247,

   1253 (2d Cir. 2002); Vinole v. Countrywide Home Loans, Inc., 571 F.3d 935, 947 (9th Cir.

   2009), as they would have been in Gregory, the Court should deny Plaintiffs’ motion for class

   certification as a whole. 19

           B.      Judge Pollak Is Simply Incorrect that Defendants Did Not Produce WTPA
                   Forms that Contain the Proper Overtime Rates

           Because Judge Pollak erroneously believed that only written notice was relevant, as

   explained above, the R&R is incorrect in its determination that the only evidence applicable to

   the certification analysis for both subclasses are the WTPA forms themselves. (R&R, at 94).

   However, even if the Court holds that only written notice is relevant, the Court should still deny

   class certification treatment. In the R&R, Magistrate Pollak went so far as to state:

           Indeed, every wage notice that defendants produced to plaintiffs had an incorrect
           amount; there was not a single notice that provided the proper overtime amount.
           Surely had defendants had some proper notices, they would have provided them,



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     Judge Pollak’s attempt to distinguish Gregory fails (R&R, at 97-98) because it assumes that no
   one in this case received a compliant WTPA notice – which, as explained above, is incorrect.

       Interestingly, Judge Pollak also highlights that Gregory is different than this case because in
   that case, there was inconsistent evidence in the record due to certain plaintiffs’ testimony that
   they never received a wage notice or could not remember it. In addition, she pointed to the fact
   that in Gregory, the court held that “even if certain employees did not receive a copy of their
   wage notices, ‘there could be other facts relevant to liability issues.’” (Id. at 97). By depriving
   Defendants of additional discovery on these matters, Judge Pollak has essentially taken away
   Defendants’ ability to examine these same issues and take testimony that could very well
   demonstrate that class treatment is improper. This is yet another reason that this motion practice
   is premature.


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          leading the Court to conclude that there was a widespread practice which resulted
          in improper notices.

   (Id. (emphasis added)). This is an entirely incorrect assertion regarding the record evidence.

          With their opposition, Defendants filed examples of WTPA notices that include the

   correct regular and overtime rates – which Judge Pollak somehow flatly ignored. (See, e.g.,

   Marin, ECF Nos. 287-31, at 2, 10, 28, 34, 44, 60, 62, 66, 69). 20 The existence of these notices,

   standing alone, belie the Magistrate’s holding in this regard and establish the need for

   individualized inquiries. They show that contrary to her holding, representative evidence will

   not “generate common answers” as required by Wal-Mart Stores, Inc. v. Dukes, 131 S. Ct. 2541,

   2551 n.6 (2011). The class certification motion for both subclasses must be denied for this

   reason alone.

          As stated in Defendants’ initial papers, some putative class members received the

   requisite Section 195(1) notices, while others allegedly did not. (56.1 Additional Statement of

   Facts, Marin, ECF No. 286, ¶¶ 53-65; Graff Decl., Marin, ECF No. 280-12 through 280-73).

   Some forms were filled out correctly while others had an incorrect overtime hourly rate. (56.1

   Additional Statement of Facts, Marin, ECF No. 286, ¶¶ 63, 66; Graff Decl., Marin, ECF No.

   280-12 through 280-73). By looking at one employee’s Section 195(1) form, there is no way to

   determine whether the next employee’s forms will be preserved and/or properly completed. In

   cases such as these, there is no “representative evidence.” The only way to determine liability is

   to go through each and every class member’s personnel files – over 14,000 – to review the wage

   notice forms found within. And, thereafter, Defendants should also be able to question each

   member to determine if a Section 195(1) notice was signed, even if Defendants no longer have a


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     Please note that the parties agreed to the production of a small sampling of personnel records,
   so this is just a small sample of the WTPA notices that exist.


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   copy. All of this defeats the purpose of common evidence, and proves that class certification

   must be denied for this reason as well.

          In applying the de novo standard of review, this Court should recognize that the

   differences in the notices at issue preclude the use of representative evidence and thus render the

   matter unsuitable for class certification.

          C.      The Court Should Deny Class Certification Because the Name Plaintiffs Are
                  Inadequate Representatives of the Class

          Finally, the R&R is incorrect in its determination that the Named Plaintiffs are adequate

   representatives of the two subclasses. (R&R, at 102).

          As an initial matter, it is important to note that the Dove and Marin actions are two

   separate cases. They have not been consolidated into one case pursuant to Fed. R. Civ. Proc. 42;

   instead, they have merely been deemed “related” pursuant to Local Rule 50.3.1. This rule allows

   cases to be assigned to the same judge(s) in order to achieve greater judicial economy, but does

   not “vest any rights in litigants or their attorneys.” E.D.N.Y. Local Rule 50.3.1(f). Accordingly,

   Marin and Dove must be examined separately to determine whether an adequate class

   representative exists for each case.

          As stated in Defendants opposition brief, a named plaintiff must possess the same interest

   and have suffered the same injuries as the class he or she purports to represent. In Re Literary

   Works In Elec. Databases Copyright Litig. v. Thomson Corp., 654 F.3d 242, 249 (2d Cir. 2011);

   Ruggles v. Wellpoint, Inc., 272 F.R.D. 320, 333 (N.D.N.Y. 2011) (“class representative must be

   part of the ‘class’ that she purports to represent.”). None of the Named Plaintiffs meet this

   standard.

          With respect to Subclass A, Judge Pollak has already determined that Plaintiff Marin is

   not a proper representative because he was not a tipped employee. (R&R, at 100). Defendants



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   do not object to this finding. However, Marin is not a proper representative for Subclass B either

   because he was hired before April 9, 2011. (Marin, ECF No. 287-18). Named Plaintiff Lebron

   is not a proper class representative with respect to Subclasses A and B because his WTPA form

   contains all the required information, including the correct minimum wage and overtime rates set

   forth in paragraph 6. (Marin, ECF No. 280-13). Finally, Named Plaintiff Hanisch is not a

   proper class representative because Plaintiffs have not submitted any evidence whatsoever with

   respect to her ability to be a proper representative of the class.

          Similarly, Dove is not an adequate class representative for either Subclass A or B. Her

   WTPA form contains all the required information, including the correct minimum wage and

   overtime rates set forth in paragraph 6. (Marin, ECF No. 280-12).

   VII.   CONCLUSION

          Accordingly, for all the reasons discussed above, Defendants respectfully request that the

   Court sustain their objections, reject the Report & Recommendation of Magistrate Judge Pollak,

   and deny Plaintiffs’ motions for summary judgment and Rule 23 class certification.




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   Dated: New York, New York                 s/ Craig R. Benson
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